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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


JANE DOE, an Individual,

                        Plaintiff,
                                                      Index No. 1:18-cv-05414 (RA)
                          v.

THE WEINSTEIN COMPANY LLC;                            SECOND AMENDED COMPLAINT
THE WEINSTEIN COMPANY HOLDINGS                        AND JURY DEMAND
LLC; HARVEY WEINSTEIN, ROBERT
WEINSTEIN, LANCE MAEROV, RICHARD
KOENIGSBERG, TARAK BEN AMMAR,
DIRK ZIFF, TIM SARNOFF, PAUL TUDOR
JONES, JEFF SACKMAN, and JAMES
DOLAN,

                        Defendants.




        Plaintiff Jane Doe, by and through her attorneys, Wigdor LLP and the Law Office of

Kevin Mintzer, P.C., for her Second Amended Complaint alleges as follows:

                                      NATURE OF THE CASE

        1.       As he had so often before, Harvey Weinstein, co-Chairman and co-CEO of the

Weinstein Co., used the promise of a role in a Weinstein company production to lure an aspiring

actress to a hotel. There, he sexually assaulted her, including by forcibly throwing her onto a

bed, wrenching down her jeans, and jamming his penis inside her vagina. That actress is Jane

Doe, Plaintiff in this action.

        At the time of his brutal attack, Mr. Weinstein’s propensity to sexually assault women

such as Plaintiff was well known to the Company’s Board of Directors. Indeed, despite repeated
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notice of Mr. Weinstein’s predations, the Board members not only failed to strip him of his

power, but they crafted a contract that effectively anticipated Mr. Weinstein’s rapaciousness and

priced it into his employment.

       2.       The 2015 contract prescribes that Mr. Weinstein pay $250,000 for the first

instance of what it euphemistically termed “misconduct,” $500,000 for a second instance,

$750,000 for a third instance, and $1,000,000 for each instance thereafter. As long as Mr.

Weinstein paid the money, the “misconduct” was, from the perspective of Board members,

“cured.” After the Board of Directors approved the 2015 contract essentially affording Mr.

Weinstein corporate impunity for sexual misconduct, he raped Plaintiff.

                                             PARTIES

       3.       Plaintiff JANE DOE (“Plaintiff” or “Doe”), at all relevant times mentioned

herein, and currently, resides in the County of Los Angeles, State of California. Doe is suing

under a pseudonym to protect her privacy.

       4.       Plaintiff is informed and believes, and based thereon alleges that Defendant THE

WEINSTEIN COMPANY LLC (hereinafter “Weinstein Co.”) is now and at all relevant times

was a Delaware limited liability company headquartered in New York, New York.

       5.       Plaintiff is informed and believes, and based thereon alleges that Defendant THE

WEINSTEIN COMPANY HOLDINGS, LLC (hereinafter “Weinstein Co. Holdings”) is now

and at all relevant times was a Delaware limited liability company headquartered in New York,

New York.

       6.       DEFENDANT WEINSTEIN CO. HOLDINGS and DEFENDANT WEINSTEIN

CO. hereinafter shall be collectively referred to as “the Companies.”

       7.       Plaintiff is informed and believes, and based thereon alleges that Defendant

HARVEY WEINSTEIN (hereinafter “HW”) is an individual who at all relevant times herein,

was a resident of New York, New York. HW is the co-founder, and was the co-Chairman and


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co-CEO of the Weinstein Co. from its inception in or about 2005 until his termination in October

2017.

        8.       Plaintiff is informed and believes, and based thereon alleges that Defendant

ROBERT WEINSTEIN (hereinafter “RW”) is an individual who at all relevant times herein was

a resident of Greenwich, Connecticut and was a director of the Companies. On information and

belief, RW attended the Companies’ board meetings in New York and otherwise participated in

directing the Companies’ supervision of HW in New York.
        9.       Plaintiff is informed and believes, and based thereon alleges that Defendant

LANCE MAEROV is an individual who at all relevant times herein was a resident of Bedford,

New York and was a director of the Companies.

        10.      Plaintiff is informed and believes, and based thereon alleges that Defendant

RICHARD KOENIGSBERG is an individual who at all relevant times herein was a resident of

Franklin Lakes, New Jersey and was a director of the Companies. On information and belief,

Defendant Koenigsberg attended the Companies’ board meetings in New York and otherwise

participated in directing the Companies’ supervision of HW in New York.

        11.      Plaintiff is informed and believes, and based thereon alleges that Defendant

TARAK BEN AMMAR is an individual who at all relevant times herein resided in Paris, France

and was a director of the Companies. On information and belief, Defendant Ben Ammar

attended the Companies’ board meetings in New York and otherwise participated in directing the

Companies’ supervision of HW in New York.

        12.      Plaintiff is informed and believes, and based thereon alleges that Defendant DIRK

ZIFF is an individual who at all relevant times herein was a resident of New York, New York

and was a director of the Companies.

        13.      Plaintiff is informed and believes, and based thereon alleges that Defendant TIM
SARNOFF is an individual who at all relevant times herein was a resident of the County of Los

Angeles and was a director of the Companies. On information and belief, Defendant Sarnoff

attended the Companies’ board meetings in New York and otherwise participated in directing the


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Companies’ supervision of HW in New York. On May 21, 2018, Defendant Sarnoff moved to

transfer this action from the Central District of California to this Court.

       14.     Plaintiff is informed and believes, and based thereon alleges that Defendant

PAUL TUDOR JONES is an individual who at all relevant times herein was a resident of New

York, New York and was a director of the Companies.

       15.     Plaintiff is informed and believes, and based thereon alleges that Defendant JEFF

SACKMAN is an individual who at all relevant times herein was a resident of Toronto, Canada
and was a director of the Companies. On information and belief, Defendant Sackman attended

the Companies’ board meetings in New York and otherwise participated in directing the

Companies’ supervision of HW in New York.

       16.     Plaintiff is informed and believes, and based thereon alleges that Defendant

JAMES DOLAN is an individual who at all relevant times herein was a resident of Miller Place,

New York and was a director of the Companies.

       17.     Defendants      ROBERT       WEINSTEIN,         LANCE          MAEROV,   RICHARD

KOENIGSBERG, TARAK BEN AMMAR, DIRK ZIFF, TIM SARNOFF, PAUL TUDOR

JONES, JEFF SACKMAN, and JAMES DOLAN hereinafter will be referred to collectively as

the “Director Defendants.”

       18.     On information and belief, by virtue of their positions as Board members of the

Companies, each of the Director Defendants attended board meetings and participated in other

events on behalf of the Companies giving rise to the violation while in New York County, and

availed themselves of the laws of New York and are subject to jurisdiction in New York.

Plaintiff is informed and believes, and based thereon alleges that at all relevant times, each

Defendant was the principal, agent, partner, joint venturer, officer, director, controlling

shareholder, subsidiary, affiliate, parent corporation, successor in interest, and/or predecessor in
interest of some or all of the other Defendants, and was engaged with some or all of the other

Defendants in a joint enterprise for profit, and bore such other relationships to some or all of the

other Defendants so as to be liable for their conduct with respect to the matters alleged below.


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        19.    Plaintiff is informed and believes, and based thereon alleges that at all relevant

times, the Companies are joint ventures in that each business combined their property, skill or

knowledge with intent to carry out a single business undertaking, each has an ownership interest

in the business, they have joint control over the business even if they agreed to delegate control,

and they have agreed to share the profits and losses of the business and that together, at all

relevant times herein, the Companies regularly conducted business in New York.

                                JURISDICTION AND VENUE

        20.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1334, 1452,

and 1367(a).

        21.    Venue is lodged in this Court pursuant to 28 U.S.C. § 1391(b)(2).

                                  JURY TRIAL DEMANDED
        22.    Plaintiff Jane Doe demands trial of all issues by jury.

                                 FACTUAL ALLEGATIONS

        23.    Defendant HW was a director of and employed by the Companies from 2005 to

October 2017. HW and RW left Miramax in 2005 to form the Companies. HW wielded

enormous power and influence in the film industry.

        24.    In late 2011, Plaintiff met HW at a party that the Companies were hosting at the

Chateau Marmont. Plaintiff was an actress and informed HW of the same when she was

introduced to him at the event. Upon learning that Plaintiff was an actress, HW offered to assist

her with her acting career and requested her telephone number. She obliged.

        25.    Over the next few years, HW invited Plaintiff to attend awards show parties that

the Defendants hosted and maintained regular communication with Plaintiff every few months

thereafter.

        26.    Plaintiff is informed and believes that HW used a phone paid for by the

Companies to communicate with her and to discuss potential job opportunities.

        27.    In late 2015, Plaintiff met HW at the Montage Hotel in Beverly Hills, California

to discuss a prospective acting job on a television show called “Marco Polo” as well as acting in


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two to three other projects. Based on information and belief, HW used the Companies’ credit

cards to pay for his hotel rooms and used the Companies’ travel agent to book his travel and

hotel stays. At some point, he said he wanted to masturbate in front of her. Plaintiff told HW

that she did not want him to masturbate in front of her. HW told her that he would not touch her,

but “only” wanted her to watch him. Despite her telling HW “no,” HW proceeded to grip her

wrist with one hand while using the other to masturbate in front of her until completion.

         28.   In early spring of 2016, HW contacted Plaintiff again to meet with him at the
Montage Hotel in Beverly Hills to celebrate her upcoming role in Marco Polo giving her the

impression that she had been chosen for the part. Plaintiff agreed. At some point, HW excused

himself and returned wearing a bathrobe. Before Plaintiff could leave, HW grabbed her and

pulled her into the bedroom. Plaintiff told HW that she did not want to do anything sexual with

him. He forcefully threw Plaintiff onto the bed. He pulled down her jeans and started to orally

copulate her. Plaintiff pushed HW’s head off of her and told him, “Stop!” HW then used his

massive weight and strength to force himself on her, pushing his penis inside of her vagina

without a condom. After he withdrew, he gripped her with one hand while using his other hand

to masturbate. Plaintiff finally broke free from his grasp and immediately left the bedroom and

suite.

         29.   HW contacted her thereafter and acted as if nothing had happened. He told her he

was coming to Los Angeles. Plaintiff swore at him and hung up the phone.

         30.   Plaintiff never received a job offer for the Marco Polo project even though she

had been previously told that she would be a perfect addition for the show. Nor did she receive

any offers for other projects that Weinstein had discussed with her.

         31.   For decades, HW engaged in a pattern and practice of sexually harassing female

employees and applicants as well as actresses seeking professional opportunities from him.
Specifically, over the course of more than twenty years, HW sexually harassed numerous

women, including at least three women who reported having been raped by HW and four who

reported other kinds of assault. In addition, at least 16 former and current Company employees


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reported witnessing or having knowledge of unwanted sexual advances and touching by HW at

events associated with HW’s films and in the workplace. HW’s sexual misconduct was widely

known within both Miramax and the Weinstein Co.

        32.      Prior to the incidents involving Plaintiff, the Companies’ executives, officers,

directors, managing agents, and employees had actual knowledge of HW’s repeated acts of

sexual misconduct with women. For example, a Company executive wrote to a Weinstein Co.

employee who had reported being harassed by HW and described HW’s sexual misconduct as a
“serial problem” with which the Weinstein Co. had been struggling with for years. Another

female executive at the Weinstein Co. described how HW’s assistants and others served as a

“honeypot” in that they would initially join a meeting along with a woman that HW was sexually

interested in, but then HW would dismiss them “so that he could be alone with the woman.” In

particular, the Companies were aware of HW’s pattern of using his power and the promise of

procuring jobs to coerce and force actresses to engage in sexual acts with him. An executive

who worked at the Weinstein Co. reported that for many years HW had engaged in “ongoing

predatory behavior toward women—whether they consented or not.”

        33.      Each Director Defendant had the power to supervise HW, to limit his contact with

female employees or third parties seeking professional opportunities in the entertainment

industry, and to take concrete steps to stop him. The Director Defendants also had the power to

refuse to renew HW’s employment contract in 2015, but failed to act because of HW’s power

and influence on the Companies’ Board of Directors and due to concerns of financial and/or

reputational harm to the Companies. HW and several Director Defendants defeated any efforts

to investigate claims of sexual misconduct or to remove HW from power, and chose not to take

any other steps to prevent him from continuing to sexually harass or harm women.

        34.      The Companies, through its management, and the Director Defendants were
aware of multiple claims of sexual misconduct against HW, which were settled prior to the

initiation of litigation.

        35.      Based upon information and belief, RW paid for prior settlements of claims made


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by women against his brother, HW, after those claims were made known to him as a member of

management of Miramax, his prior company with HW.

       36.     Based upon information and belief, although key members of the Companies’

management were fully aware of HW’s sexual harassment of others, they did not take reasonable

steps to investigate or stop it. According to the Companies’ policies, complaints of harassment

were to be submitted to the Human Resources Director, who had the authority to decide whether

a complaint had sufficient merit to warrant investigation. The Human Resources Director’s
regular practice was to escalate any complaints deemed to be significant to a particular

executive, to whom the Human Resources Director directly reported.

       37.     Based upon information and belief, on more than one occasion prior to Plaintiff’s

sexual assault in 2016, upon forwarding a complaint or information about a complaint of sexual

misconduct to said executive, the Human Resources Director was not involved in any

investigation or resolution process.    Such matters were handled by the Companies’ senior

management.

       38.     The Board of Directors was under no obligation to renew the contract. By early

2015, certain corporate executives at the Companies who had received and handled numerous

claims of misconduct from the Companies’ employees became so concerned about HW’s

misconduct towards women, as well as his expenditure of company resources on improper items,

that they decided to notify a Board member about the misconduct.           In response to this

information, some Board members sought access to HW’s personnel file so that the Board’s

counsel could evaluate whether the Board should recommend renewal of HW’s contract.

Through his attorney, HW resisted all efforts to obtain a copy of his personnel file. Further, a

majority of the Board refused to back some of the Directors’ efforts to obtain HW’s personnel

file. However, HW’s counsel has represented that the Director Defendants had access to HW’s
personnel file and that they decided not to review it themselves.

       39.     Based upon information and belief, the Director Defendants were aware of

multiple instances of HW’s sexual assault prior to renewing HW’s contract at the end of 2015,


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including but not limited to:

       a.       In 2014, a Weinstein Co. temp employee who had only worked at the Company

                for one day complained that HW allegedly offered to boost her career in return for

                sexual favors.

       b.       In March of 2015, a Filipina-Italian model reported that HW had groped her

                breasts and tried to stick his hand up her skirt when she met with him at a hotel in

                New York City to discuss employment opportunities. The complainant reported
                the sexual assault to the New York Police Department and cooperated with an

                investigation, even agreeing to meet with HW again at a hotel bar in order to

                secretly record him. HW can be heard admitting to groping the victim’s breast

                without her consent and that he was “used to that.” HW can also be heard

                pressing her to join him in his hotel room while he showers to avoid

                “embarrassing” him and to “not ruin their friendship.”

       c.       A young female employee had quit after complaining of being forced to arrange

                what she believed to be “honey pot” meetings for HW.

       40.      Instead of investigating these claims of misconduct by HW or viewing HW’s

concealment of his personnel file as raising any red flags whatsoever, the Director Defendants

unreasonably negotiated a new contract in 2015 for HW that placed no restrictions on his

activities and took no steps to protect female employees and females seeking to conduct business

with the Companies and HW. HW’s contract was renewed by unanimous vote by the Director

Defendants in or about November of 2015, despite their awareness of his repeated predatory

conduct towards women.

       41.      Based upon information and belief, the Director Defendants’ knowledge of

multiple claims of sexual misconduct against HW is evidenced in HW’s 2015 employment
contract. The contract states that if HW is sued for sexual harassment or other “misconduct” that

results in a settlement or judgment against the Companies, HW must reimburse the Companies

for such settlements or judgments and that HW must pay the Companies liquidated damages of


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$250,000 for the first such instance, $500,000 for the second such instance, $750,000 for the

third such instance, and $1,000,000 for each additional instance. Moreover, the contract states

that as long as HW pays, it constitutes a “cure” for the misconduct and the Companies can take

no further action against Weinstein, such as terminating him. The contract contains no provision

for any penalties if HW personally covered the costs of any payments necessary to satisfy claims

of improper treatment. Thus, pursuant to the contract, HW could continue engaging in sexual

harassment and sexual misconduct with impunity provided that he paid the costs of any
settlements personally and that he avoided disclosure of misconduct that might risk causing

“serious harm” to the Companies.

       42.     Based on information and belief, around the time of the renewal of HW’s

employment contract, in or about late October or November of 2015, a then-employee of the

Companies wrote a memo outlining specific allegations of sexual harassment and misconduct

against HW spanning a two-year period. The employee, who was one of HW’s assistants at the

time, alleged that HW demanded a massage from a female employee while he was naked in a

hotel room. She also described a broader “toxic environment for women” at the Companies and

her fear that HW was using her and other female employees to facilitate liaisons with vulnerable

women who hoped that he will get them work.

       43.     Despite learning of the employee’s allegations of a pattern of predatory behavior

by HW towards women by the end of 2015, the Companies and the Director Defendants did not

investigate these claims or did not take any remedial action to monitor, supervise or restrict HW

whatsoever until HW’s termination in October 2017 when news of HW’s sexual misconduct was

made public.

       44.     As a direct and proximate result of Defendants’ unlawful conduct as alleged

hereinabove, Plaintiff has suffered physical injury, severe emotional distress, humiliation,
embarrassment, mental and emotional distress and anxiety, and economic harm, all in an amount

exceeding the jurisdictional minimum of the Court according to proof at trial.




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           45.   The aforementioned conduct by Defendants was willful, wanton, and malicious.

At all relevant times, Defendants acted with conscious disregard of the Plaintiff’s rights and

feelings. Defendants also acted with the knowledge of or with reckless disregard for the fact that

their conduct was certain to cause injury and/or humiliation to the Plaintiff. Plaintiff is further

informed and believes that Defendants intended to cause fear, physical injury and/or pain and

suffering to the Plaintiff. By virtue of the foregoing, the Plaintiff is entitled to recover punitive

and exemplary damages from Defendants according to proof.
                                FIRST CAUSE OF ACTION
     (Sexual Battery in Violation of Cal. Civ. Code § 1708.5 Against Defendant Harvey
                               Weinstein and the Companies)

           46.   Plaintiff repeats and realleges by reference each and every allegation contained

hereinabove and incorporates the same herein as though fully set forth herein.

           47.   Cal. Civ. Code Section 1708.5(a) provides: A person commits a sexual battery

who does any of the following: (1) acts with the intent to cause a harmful or offensive contact

with an intimate part of another, and a sexually offensive contact with that person directly or

indirectly results. (2) Acts with the intent to cause a harmful or offensive contact with another by

use of his or her intimate part, and a sexually offensive contact with that person directly or

indirectly results. (3) Acts to cause an imminent apprehension of the conduct described in

paragraph (1) or (2), and a sexually offensive contact with that person directly or indirectly

results.

           48.   Cal. Civ. Code Section 1708.5(d) defines “intimate part” as the sexual organ,

anus, groin, or buttocks of any person, or the breast of a female.

           49.   Cal. Civ. Code Section 1708.5(f) defines “offensive contact” to mean contact that

offends a reasonable sense of personal dignity.

           50.   Plaintiff alleges that Defendant HW committed the act of civil sexual battery in

violation of Cal. Civ. Code Section 1708.5, when on or about early 2016, Defendant, willfully,

maliciously, intentionally, and without the consent of Plaintiff subjected her to the forceful,


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harmful and/or offensive touching of Plaintiff’s breasts, buttocks, and/or vagina, including

viciously raping her by way of vaginal penetration against her will, without her consent, and in

spite of her express objection.

         51.   Plaintiff further alleges that the Companies are strictly liable for Defendant HW’s

actions under the principles of respondeat superior, as alleged herein and otherwise had advance

knowledge that Defendant HW would engage in this despicable conduct while acting within the

scope of his employment and by their actions and inactions ratified, authorized and condoned
this unlawful behavior.

         52.   As a direct and/or proximate result of HW’s unlawful conduct as alleged

hereinabove, Plaintiff has suffered physical injury, severe emotional distress, humiliation,

embarrassment, mental and emotional distress and anxiety, all in an amount exceeding the

jurisdictional minimum of the Superior Court according to proof at trial.

         53.   As a direct and proximate result of Defendants’ unlawful conduct as alleged

hereinabove, Plaintiff has suffered economic harm, loss of earnings, and other damages, all in an

amount that exceeds the jurisdictional minimum of the Superior Court, according to proof at

trial.

         54.   The aforementioned conduct by Defendants was willful, wanton, and malicious.

At all relevant times, Defendants acted with conscious disregard of the Plaintiff’s rights and

feelings. HW also acted with the knowledge of or with reckless disregard for the fact that his

conduct was certain to cause injury and/or humiliation to the Plaintiff. Plaintiff is further

informed and believes that Defendants intended to cause fear, physical injury and/or pain and

suffering to the Plaintiff. By virtue of the foregoing, the Plaintiff is entitled to recover punitive

and exemplary damages from Defendants according to proof at trial.

                              SECOND CAUSE OF ACTION
                (Gender Violence in Violation of Cal. Civ. Code § 52.4 Against
                               Defendant Harvey Weinstein)

         55.   Plaintiff repeats and realleges by reference each and every allegation contained


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hereinabove and incorporates the same herein as though fully set forth herein.

       56.      Cal. Civ. Code Section 52.4(c) defines “gender violence” as: (1) one or more acts

that would constitute a criminal offense under state law that has as an element the use, attempted

use, or threatened use of physical force against the person or property of another, committed at

least in part based on the gender of the victim, whether or not those acts have resulted in criminal

complaints, charges, prosecution, or conviction. (2) A physical intrusion or physical invasion of

a sexual nature under coercive conditions, whether or not those acts have resulted in criminal
charges, complaints, charges, prosecution, or conviction.        Cal. Civ. Code Section 52.4(e)

provides: Notwithstanding any other laws that may establish the liability of an employer for the

acts of an employee, this section does not establish any civil liability of a person because of his

or her status as an employer, unless the employer personally committed an act of gender

violence.

       57.      Plaintiff alleges that, on or about early 2016, and prior to that, Defendant HW

violated Cal. Civ. Code Section 52.4 in that one or more acts he inflicted on Plaintiff constitutes

a criminal offense under state law that has an element of use, attempted use, or threatened use of

physical force against her person, committed at least in part based on Plaintiff’s gender, whether

or not those acts have resulted in criminal complaints, charges, prosecution, or conviction.

       58.      Plaintiff alleges that, on or about early 2016, and prior to that, Defendant HW

violated Cal. Civ. Code Section 52.4 in that he engaged in a physical intrusion or physical

invasion of a sexual nature under coercive conditions, even if those acts have not yet resulted in

criminal complaints, charges, prosecution, or conviction.

       59.      As a direct and proximate result of Defendant’s unlawful conduct as alleged

hereinabove, Plaintiff has suffered physical injury, severe emotional distress, humiliation,

embarrassment, mental and emotional distress and anxiety, all in an amount exceeding the
jurisdictional minimum of the Superior Court according to proof at trial.

       60.      As a direct and proximate result of Defendant’s unlawful conduct as alleged

hereinabove, Plaintiff has suffered economic harm and other consequential damages, all in an


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amount according to proof at trial.

         61.    The aforementioned conduct by Defendant was willful, wanton, and malicious.

At all relevant times, Defendant acted with conscious disregard of the Plaintiff’s rights and

feelings. Defendant also acted with the knowledge of or with reckless disregard for the fact that

his conduct was certain to cause injury and/or humiliation to the Plaintiff. Plaintiff is further

informed and believes that Defendant intended to cause fear, physical injury and/or pain and

suffering to the Plaintiff. By virtue of the foregoing, the Plaintiff is entitled to recover punitive
and exemplary damages from Defendants according to proof at trial.

         62.    Plaintiff has incurred, and will continue to incur, attorneys’ fees in the prosecution

of this action and therefore demands such reasonable attorneys’ fees and costs as set by the

Court.

                                  THIRD CAUSE OF ACTION

               (Battery Against Defendant Harvey Weinstein and the Companies)

         63.    Plaintiff repeats and realleges by reference each and every allegation contained

hereinabove and incorporates the same herein as though fully set forth herein.

         64.    In performing the acts described herein, Defendant HW acted with the intent to

make a harmful and offensive contact with Plaintiff’s person.

         65.    Defendant HW did, in fact, bring himself into offensive and unwelcome contact

with Plaintiff as described hereinabove.

         66.    At all relevant times, Plaintiff found the contact by Defendant to be offensive to

her person and dignity. At no time did Plaintiff consent to any of the acts by Defendant alleged

hereinabove.

         67.    As a result of Defendant HW’s acts as hereinabove alleged, Plaintiff was

physically harmed and/or experienced offensive contact with her person.

         68.    Plaintiff further alleges that the Companies are strictly liable for Defendant HW’s

actions under the principles of respondeat superior, as alleged herein and otherwise had advance

knowledge that Defendant HW would engage in this despicable conduct while acting within the


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scope of his employment and by their actions and inactions ratified, authorized and condoned

this unlawful behavior.

       69.     As a direct and proximate result of Defendants’ unlawful conduct as alleged

hereinabove, Plaintiff has suffered physical injury, severe emotional distress, humiliation,

embarrassment, mental and emotional distress and anxiety, economic harm and other

consequential damages, all in an amount exceeding the jurisdictional minimum of the Superior

Court according to proof at trial.
       70.     The aforementioned conduct by Defendants was willful, wanton, and malicious.

At all relevant times, Defendants acted with conscious disregard of the Plaintiff’s rights and

feelings. Defendants also acted with the knowledge of or with reckless disregard for the fact that

their conduct was certain to cause injury and/or humiliation to the Plaintiff. Plaintiff is further

informed and believes that Defendants intended to cause fear, physical injury and/or pain and

suffering to the Plaintiff. By virtue of the foregoing, the Plaintiff is entitled to recover punitive

and exemplary damages from Defendants according to proof at trial.

                              FOURTH CAUSE OF ACTION
             (Assault Against Defendant Harvey Weinstein and the Companies)
       71.     Plaintiff repeats and realleges by reference each and every allegation contained

hereinabove and incorporates the same herein as though fully set forth herein.

       72.     When Defendant HW charged at Plaintiff, HW intended to cause Plaintiff

apprehension of an imminent harmful and offensive contact with her person.

       73.     As a result of Defendant HW’s acts, Plaintiff was in fact, placed in great

apprehension of imminent harmful and offensive contact with her person.

       74.     In performing the acts alleged hereinabove, Defendant HW acted with the intent

of making contact with Plaintiff’s person.

       75.     At no time did Plaintiff consent to any of the acts by HW alleged hereinabove.

       76.     Defendant’s conduct as described above, caused Plaintiff to be apprehensive that

Defendant would subject her to further intentional invasions of her right to be free from



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offensive and harmful contact and demonstrated that at all times material herein, Defendant had

a present ability to subject her to an intentional offensive and harmful touching.

        77.     Plaintiff further alleges that the Companies are strictly liable for Defendant HW’s

actions under the principles of respondeat superior, as alleged herein and otherwise had advance

knowledge that Defendant HW would engage in this despicable conduct while acting within the

scope of his employment and by their actions and inactions ratified, authorized and condoned

this unlawful behavior.
        78.     As a direct and proximate result of Defendants’ unlawful conduct as alleged

hereinabove, Plaintiff has suffered physical injury, severe emotional distress, humiliation,

embarrassment, mental and emotional distress and anxiety, and economic harm, all in an amount

exceeding the jurisdictional minimum of the Superior Court according to proof at trial.

        79.     The aforementioned conduct by Defendants was willful, wanton, and malicious.

At all relevant times, Defendants acted with conscious disregard of the Plaintiff’s rights and

feelings. Defendants also acted with the knowledge of or with reckless disregard for the fact that

their conduct was certain to cause injury and/or humiliation to the Plaintiff. Plaintiff is further

informed and believes that Defendants intended to cause fear, physical injury and/or pain and

suffering to the Plaintiff. By virtue of the foregoing, the Plaintiff is entitled to recover punitive

and exemplary damages from Defendants according to proof.

                                     FIFTH CAUSE OF ACTION
                                   (Negligence against all Defendants)
        80.     Plaintiff repeats and realleges by reference each and every allegation contained

hereinabove and incorporates the same herein as though fully set forth herein.

        81.     Defendants committed the negligent actions and/or negligent failures to act, as set

forth hereinabove and those acts proximately caused the emotional, physical, and financial

injuries visited upon Plaintiff.

        82.     Each Defendant owed Plaintiff a duty of care to refrain from conduct that

imposed an unreasonable risk of injury to her.



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       83.     Based on prior complaints, each Defendant knew or reasonably should have

known that HW would use his position at the Companies to lure Plaintiff to a hotel room under

the guise of discussing business opportunities to sexually harass, batter, and assault her.

       84.     Defendants breached this duty of care by way of their own conduct as alleged

herein. Specifically, Defendants failed to take any steps, such as forbidding HW from meeting

with women alone in hotel rooms to conduct alleged Company business, to avoid this reasonably

foreseeable harm.
       85.     As a direct and proximate result of Defendants’ extreme and outrageous acts,

Plaintiff has suffered emotional distress, humiliation, and embarrassment, economic harm, all in

an amount to be determined at trial.
                                 SIXTH CAUSE OF ACTION
   (Negligent Retention or Supervision against the Companies and Director Defendants)

       86.     Plaintiff repeats and realleges by reference each and every allegation contained

hereinabove and incorporates the same herein as though fully set forth herein.

       87.     Defendants had a mandatory duty of care to properly hire, train, retain, supervise,

and discipline their employees so as to avoid unreasonable harm to citizens. With deliberate

indifference, Defendants failed to take necessary, proper or adequate measures in order to

prevent the violation of Plaintiff’s rights and injury to Plaintiff. Among other acts and/or failures

to act, Defendants retained Defendant HW, renegotiated his employment contract, and did not

terminate him despite knowledge of, or reckless disregard for, Defendant HW’s propensity for

the conduct which caused harm to Plaintiff.

       88.     Defendants breached this duty of care by failing to adequately train employees to

not sexually discriminate and/or harass women. This lack of adequate supervisory training

and/or policies and procedures demonstrates a failure to make reasonable attempts and to prevent

sexually discriminatory behavior toward women. In addition, the retention of Defendant HW

despite his well-known predatory pattern of abuse and harassment was negligent.

       89.     Defendants had a duty to control Defendant HW in his interactions with women



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during meetings taking place in hotel rooms paid for by Defendants during meetings set up

through use of a phone paid for by the Companies to prevent the reasonably foreseeable harm

that he would sexually harass and/or sexually assault them.

       90.     Defendants’ negligent supervising and/or retaining of Defendant HW was a

substantial factor in causing Plaintiff’s harm.

       91.     Defendant HW engaged in unlawful conduct on Defendants’ property and/or

using Defendants’ chattels, which conduct was outside the scope of his employment.
       92.     The Director Defendants’ conduct constituted gross negligence.

       93.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered emotional distress, humiliation, and embarrassment, economic harm, all in an amount to

be determined at trial.

       94.     The aforementioned conduct by Defendants was willful, wanton, and malicious.

At all relevant times, Defendants acted with conscious disregard of the Plaintiff’s rights and

feelings. The Companies were aware of the probable dangerous consequences of retaining or

inadequately supervising Defendant HW and allowing him to meet with women under the guise

of procuring work for them in his role as a representative of the Companies. Defendants acted

with the knowledge of or with reckless disregard for Defendant HW’s propensity for the conduct

that caused harm to Plaintiff. By virtue of the foregoing, the Plaintiff is entitled to recover

punitive and exemplary damages from Defendants according to proof at trial.

       WHEREFORE, Plaintiff prays judgment be entered in her favor against Defendants, and

each of them, as follows:

       1.      For a money judgment representing compensatory damages including

consequential damages, lost wages, earning, and all other sums of money, together with interest

on these amounts, according to proof;
       2.      For an award of money judgment for mental pain and anguish and severe

emotional distress, according to proof;

       3.      For punitive and exemplary damages according to proof;


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      4.    For attorneys’ fees and costs;

      5.    For prejudgment and post-judgment interest; and

      6.    For such other and further relief as the Court may deem just and proper.


Dated: October 16, 2018
       New York, New York

                                             WIGDOR LLP



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